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AFFIRMATION OF SERVICE

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Index Number: 1:24-CV-08355-AT Date Filed: 11/4/2024
Plaintiff:

Jeffrey Parker, on behalf of himself and all others similarly situated

Vs.

Defendant:

F & G Trends, Inc.

State of New York, County of Albany)ss.:

Received by Meridian Investigations & Security to be served on F & G Trends, Inc..

|, Patricia Burke, do hereby affirm that on the 6th day of December, 2024 at 3:15 pm, I:

served F & G Trends, Inc. by delivering two true copies of the Summons in a Civil Action, Class
Action Complaint and Demand for Jury Trial pursuant to New York State Section 306 BCL together
with statutory service fee in the amount of $40.00 to Nancy Dougherty as Business Document
Specialist of New York State Department of State, 99 Washington Avenue, 6th Floor, Albany, NY 12210.
The New York State Department of state being the Registered Agent/Statutory Agent of record of the
within named company, in compliance with state statutes.

Description of Person Served: Age: 65, Sex: F, Race/Skin Color: White, Height: 5'4", Weight: 150, Hair:
Brown, Glasses: Y

| certify that | am over the age of 18, have no interest in the above action.
| affirm on df, yf , under the penalties of perjury under the laws of New York, which may

include a finé or imprisohment, that the foregoing is true, and | understand that this document may be filed
in an action or proceeding in a court of law.

Patficia Burke
Process Server

Meridian Investigations & Security
48 Davis Avenue
Port Washington, NY 11050

Our Job Serial Number: SRN-2024006602

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